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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 CASSANDRA M. LAFARGUE                                         CIVIL ACTION

 VERSUS                                                        NO. 10-1944
 EASTERN SAVINGS BANK, fsb                                     SECTION "N" (2)



                                        JUDGMENT
       For the reasons set forth in the Court’s Order dated June 7, 2012; accordingly,

       IT IS ORDERED, ADJUDGED, AND DECREED that there be judgment in favor of

defendant, Eastern Savings Bank, fsb, and against plaintiff, Cassandra M. LaFargue, dismissing

plaintiff's complaint with prejudice.

       New Orleans, Louisiana, this           day of June, 2012.




                                                       KURT D. ENGELHARDT
                                                  UNITED STATES DISTRICT JUDGE
